              Case 2:17-cv-00932-JLR Document 180 Filed 06/20/24 Page 1 of 4




 1                                                  THE HONORABLE JAMES L. ROBART

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 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE

 8

 9   CYWEE GROUP LTD.,                              CASE NO.: 2:17-cv-00932-JLR

10                  Plaintiff,
            v.                                      JURY TRIAL DEMANDED
11
     HTC CORPORATION; and HTC AMERICA,
12   INC.,                                          JOINT STATUS REPORT

13                  Defendants.
14

15   HTC CORPORATION, and HTC AMERICA,
     INC.,
16
                    Third-Party Plaintiffs,
17          v.
18   CYWEE MOTION GROUP LTD.,
19                  Third-Party Defendant.
20

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     JOINT STATUS REPORT                                                BREWER LAW GROUP PLLC
     CASE NO. 2:17-cv-00932-JLR                                      1700 SEVENTH AVE., SUITE 2100
                                                                               SEATTLE, WA 98101
                                                                         TELEPHONE: (206) 357-8442
              Case 2:17-cv-00932-JLR Document 180 Filed 06/20/24 Page 2 of 4




 1          Pursuant to the Court’s August 19, 2019, Order (ECF No. 146), Plaintiff CyWee Group

 2   Ltd. (“CyWee Group”) and the parties’ most recent 90-Day Joint Status Report (ECF No. 179),

 3   Defendants and Third-Party Plaintiffs HTC Corporation and HTC America, Inc., and Third-Party

 4   Defendant CyWee Motion Group Ltd. respectfully submit the following joint status report:

 5                                           The Google IPRs:

 6          On January 9, 2020, the PTAB held the following claims invalid in the two IPR
 7
     proceedings filed by Google (the “Google IPRs”):
 8
      Asserted Patent      IPR Case No.        Original Claims         Proposed Contingent
 9                                             Held Invalid            Amended Claims Held
                                                                       Invalid
10    8,441,438            IPR2018-01258       1, 3–5                  20, 21
11    8,552,978            IPR2018-01257       10, 12                  19, 20

12          CyWee appealed the PTAB’s final written decisions in the Google IPRs. On February 8,

13   2023, the Federal Circuit finally affirmed PTAB’s ruling.
14                                             The ZTE IPR:
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            On February 17, 2021, the PTAB held all challenged claims invalid in an inter partes
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     review proceeding filed by ZTE and joined by LGE (the “ZTE IPR”):
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18

19    Asserted Patent      IPR Case No.        Original Claims         Proposed Contingent
                                               Held Invalid            Amended Claims Held
20                                                                     Invalid
      8,441,438            IPR2019-00143       1, 4, 5, 14–17, 19      20-24
21                         IPR2019-01203
22

23          CyWee appealed the PTAB’s final written decision in the ZTE IPR on April 8, 2021. On

24   January 18, 2024, the Federal Circuit finally affirmed PTAB’s ruling.
25          On May 20, 2024, the parties submitted a Joint Status Report in which the parties agreed
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     to request a further stay of 30 days so that the parties may discuss and decide how to proceed with
27
     the case and to submit a further status report in 30 days instead of 90 days.

     JOINT STATUS REPORT                                                                BREWER LAW GROUP PLLC
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 1          After careful consideration, CyWee will ask the Court to dismiss the patent infringement

 2   claims invalidated in the IPRs. The IPR proceedings have mooted the proceedings for patent
 3
     infringement of the ‘438 and ‘978 patents. CyWee is investigating whether any of the
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     approximately four dozen patents granted since the case was stayed are infringed by the Defendant.
 5
     That analysis should be complete by August 15, 2024.
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            As to the non-patent claims, CyWee contends that they should not be dismissed because
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 8   the IPR results do not impact those claims. CyWee further contends that a new scheduling order

 9   should be entered requiring CyWee to file a motion to amend the complaint on or before August
10   15, 2024. Defendants oppose CyWee’s attempts to bring new patents or new claims into this
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     case—rather, any such patents or claims should be litigated in a separate action. After the Court
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     resolves this issue, the parties request that a new Scheduling Order be entered based upon any
13
     remaining claims and defenses asserted in this action.
14

15   Dated: June 20, 2024                         Respectfully submitted,

16                                                /s/ Carmen E. Bremer
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26
                                                  Third-Party Defendant CyWee Motion Group Ltd.
27


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                                                   Attorneys for Defendants and Third-Party Plaintiffs
18                                                 HTC Corporation and HTC America, Inc.
19

20                                   CERTIFICATE OF SERVICE
21                  I hereby certify that on June 20, 2024, I electronically filed the foregoing with the
22   Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
23   counsel of record.
24

25                                                        /s/ Ryan R. Smith
                                                          Ryan R. Smith
26

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     JOINT STATUS REPORT                                                             BREWER LAW GROUP PLLC
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